                          Case 24-12108-RAM               Doc 67      Filed 10/07/24         Page 1 of 2


                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

RE:      PAOLA ANGULO                                                                    CASE NUMBER: 24-12108 RAM

                     TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                       (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
or requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional
objections UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional
documents needed. See Court Notice of Commencement for additional information and Trustee’s website
www.CH13miami.com for forms and procedures.

As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the
Clerk by 5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is
continued. Pro Se debtors may fax documents to 954-443-4452. Late documents may not be reviewed or
considered, and this case may be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE
THURSDAY PRIOR TO THE HEARING. During this period, the Debtor’s or Creditor’s attorney must call
and speak to the Trustee’s staff attorney unless they agree to the Trustee’s recommendation. A final calendar
will be published with any changes to this recommendation the day before the hearing on the front page of the
Trustee’s website.

***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***

TRUSTEE’S RECOMMENDATION FOR HEARING
                                                                                               LAST REVIEWED: 10/7/2024
                                                                            Object to Exemption (33) : Homestead/Overused PP

4AP served 9/20        PENDING OVER 7 MONTHS
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Dismiss documents not timely provided Remains unresolved from 5/14 (issues expanded by late documents
not timely provided): Plan does not pay Chapter 7 liquidation of $11,658.20 to the unsecured creditors OR
$422,358.20 unless debtor can provide payoff of mortgages as date of filing plus explanation from mortgage
holder why mortgages increased after Sub Chapter 5 and Chapter 13 and evidence of what happened to funds.
(attorney hearsay letter of bare legal title without support – not addressed in letter dated 9/20)

 Chapter 7 Liquidation Amount:                                                                                             $422,358.20

 Property Description                            Value                    Lien                    Exemption           Equity
 Real Estate: (use address)*
  200 Biscayne Boulevard Way Unit 4702            $    1,743,200.00        $ 1,143,333.14         $   721,807.58       $          -
 Business: Condo                                  $    1,760,600.00        $ 1,500,000.00         $           -        $   260,600.00
 Business: Condo 2                                $      700,100.00        $ 550,000.00           $           -        $   150,100.00
 6. Household goods                               $        1,000.00                               $     1,000.00       $          -
 7. Electronics                                   $          100.00                                                    $      100.00
 11. Clothing                                     $          50.00                                                     $       50.00
  12. Jewelry (provide inventory)                    $          500.00                                                 $         500.00
I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
                          Case 24-12108-RAM               Doc 67       Filed 10/07/24        Page 2 of 2




 16. Cash                                         $           20.00                                                     $       20.00
  Wells Fargo 7099                                $           78.18                                                     $       78.18
 Wells Fargo 7057                                 $           839.55                                                    $      839.55
 19. Interest in other's business                 $           70.47                                                     $       70.47
 transfer to sister                               $        10,000.00                                                    $    10,000.00




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
